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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



VANDYKE JOHNSON,                    :
                                    :
                         Plaintiff, :
                                    :                       Civil Action No. 12-03604 (SRC)
             v.                     :
                                    :                                   ORDER
ALEXANDRA MARTE PERALTA,            :
                                    :
                      Defendant :
                                    :
                                    :



CHESLER, District Judge

       This matter having come before the Court on Plaintiff Vandyke Johnson’s (“Plaintiff”)

motion for default judgment (Docket Entry 14); and the Court having moved to dismiss the

action sua sponte pursuant to 28 U.S.C. § 1915; and the Court having considered the papers filed

by the Plaintiff and opted to rule based on the written submissions and without oral argument,

pursuant to Federal Rule of Civil Procedure 78; and for the reasons expressed in the Opinion

filed herewith,

       IT IS on the 27th day of February, 2013,

       ORDERED that Plaintiff’s Complaint shall be and hereby is DISMISSED WITHOUT

PREJUDICE.

                                                     /s Stanley R. Chesler
                                                    STANLEY R. CHESLER
                                                    United States District Judge
